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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


JOHN DOE                                                   CIVIL ACTION NO. 19-11403

VERSUS                                                     SECTION “R”
                                                           DISTRICT JUDGE VANCE
THE ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND                                    MAG. DIV. (1)
                                                           MAG. JUDGE VAN MEERVELD


                     JOINT MOTION TO DISMISS WITH PREJUDICE

         NOW INTO COURT, through undersigned counsel, come Plaintiff, John Doe, and

Defendant, The Administrators of the Tulane Educational Fund, (“Tulane”), who advise the

Court that the above-referenced matter has been resolved and therefore respectfully request that

the above-captioned lawsuit be dismissed in its entirety, with prejudice, with each party to bear

their own costs and attorneys’ fees, as agreed to by the parties.

                                              Respectfully submitted,

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